                                                                   CLERKS OFFICE U.S. DIST. COURT
                                                                      AT CHARLOTTESVILLE, VA
                                                                             FILED
                   IN THE UNITED STATES DISTRICT COURT                   05/18/2020
                  FOR THE WESTERN DISTRICT OF VIRGINIA                JULIA C. DUDLEY, CLERK
                            Charlottesville Division                  BY: /s/ J. JONES
                                                                          DEPUTY CLERK
ELIZABETH SINES et al.,             )       Civil Action No. 3:17-cv-00072
     Plaintiffs,                    )
                                    )
v.                                  )       ORDER
                                    )
JASON KESSLER et al.,               )
     Defendants.                    )       By:    Joel C. Hoppe
                                    )              United States Magistrate Judge

        This matter is before the Court on Plaintiffs’ Motion to Compel Discovery from

Defendant Robert “Azzmador” Ray. ECF No. 673. Ray, who has represented himself in this case

since October 2019, ECF No. 583, did not file a brief in opposition within the fourteen days

allowed by the presiding District Judge’s pretrial order, ECF No. 101. Ray also failed to appear

for a telephonic status and discovery conference held on April 27, 2020. ECF No. 721.

Accordingly, the Court considers Plaintiffs’ motion to be unopposed. ECF No. 101.

        Rules 26 through 37 of the Federal Rules of Civil Procedure govern discovery in most

civil cases filed in the United States District Courts. See Mancia v. Mayflower Textile Servs., 253

F.R.D. 354, 357 (D. Md. 2008). The “basic philosophy” driving discovery today is “that prior to

trial every party to a civil action is entitled to the disclosure of all relevant information in the

possession of any person, unless the information is privileged.” 8 Wright & Miller, Federal

Practice & Procedure § 2001 (3d ed. 2002); accord Hickman v. Taylor, 329 U.S. 495, 501 (1947)

(“The way is now clear, consistent with recognized privileges, for the parties to obtain the fullest

possible knowledge of the issues and facts before trial.”). “Discovery, in other words, is not a

one-way proposition. It is available in all types of cases at the behest of any party, individual or

corporate, plaintiff or defendant.” Hickman, 329 U.S. at 507. “To that end, either party may




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compel the other to disgorge whatever [relevant] facts he has in his possession.” Id.; see Eramo

v. Rolling Stone, LLC, 314 F.R.D. 205, 209 (W.D. Va. 2016); Fed. R. Civ. P. 37(a)(1).

       Here, Plaintiffs moved to compel Ray to:

       1. Produce to the Third-Party Discovery Vendor (“the Vendor”) for imaging and

           collection a second laptop that Ray identified on his sworn Certification form in

           January 2019;

       2. Produce to the Vendor for imaging and collection a second cell phone that Ray failed

           to identify both in his sworn responses to written discovery and on the Certification

           form;

       3. Disclose to the Vendor the credentials for the Daily Stormer website, the Krypto

           Report podcast, and Skype, Gab.ai, and Twitter accounts that Ray identified on the

           Certification form, as well as any other accounts and credentials within his possession

           that Ray did not identify on the Certification, to the Vendor for imaging and

           collection.

Pls.’ Mot. to Compel Disc. from Def. Ray 4, 9, 12–13, 16–17; see also Def. Ray’s Resps. to Pls.’

First Interrogs. & Reqs. for Produc. of Docs. 1–6 (Apr. 18, 2018), ECF No. 478-1; Pls.’ Mot. to

Compel Disc. from Def. Ray Ex. 8 (Jan. 22, 2019), ECF No. 710-3; id. Ex. 9 (Feb. 25, 2020),

ECF No. 710-4. Plaintiffs also seek a court order directing the Vendor to produce immediately to

Plaintiffs’ counsel, “without the opportunity for Ray’s review,” every document collected from

his imaged “devices and accounts that hits on any search term” the parties have agreed upon.

Pls.’ Mot to Compel Disc. from Def. Ray 17.

       The Court has already held Plaintiffs are entitled to the requested material because it is

directly relevant to their surviving claims and proportional to the needs of the case, considering



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the parties’ relative access to such information, the parties’ resources, the importance of the

discovery in resolving the issues, and most Defendants’ (including Ray’s) apparent inability to

locate and produce responsive documents and electronic information. See generally Sines v.

Kessler, No. 3:17cv72, 2019 WL 3767475, at *13–14 (W.D. Va. Aug. 9, 2019); Order of Nov.

13, 2018, at 1–2 (granting Plaintiffs’ motion to compel inspection and imaging of Ray’s and

other Defendants’ online accounts and electronic devices), ECF No. 379. The Court has also

ordered Ray many times to provide or permit discovery “of the same material in [his] control,”

Sines, 2019 WL 3767475, at *13 (quoting Lee v. Max Int’l, 638 F.3d 1318, 1321 (10th Cir. 2011)

(Gorsuch, J.)), by deadlines repeatedly extended. See Order of Mar. 26, 2018, at 5, ECF No. 288

(first set of interrogatories and requests for production); Order of Nov. 13, 2018, at 1 (Discord

consent); Stip. & Order of Nov. 19, 2018, at 2, 8–9, 16 (identified electronic devices, social

media credentials), ECF No. 383; Order of Mar. 4, 2019, at 3 (same), ECF No. 440; Disc. Order

of Oct. 28, 2019, at 2–3 (identified electronic devices, last-known social media credentials,

consent), ECF No. 582; Order of Nov. 27, 2019, at 1 (all requested discovery), ECF No. 597.

Yet, it has been Ray’s “consistent ‘practice from the very beginning to ignore outright the court’s

orders or to submit chaotically and defectively to them.’” Sines, 2019 WL 3767475, at *14

(quoting Mut. Fed. Savs. & Loan v. Richards & Assocs., 872 F.2d 88, 94 (4th Cir. 1989)).

Clearly, Ray’s “track-record of failing to fulfil his discovery obligations in a timely manner . . .

makes him [especially] ill-suited to participate in a discovery process that is predicated upon

one’s prompt and good faith with discovery obligations.” Order of Jan. 22, 2020, at 3, ECF No.

638; see also Sines, 2019 WL 3767475, at *2, *14–15. The case must move forward.

       Accordingly, it is hereby ORDERED that:




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1. Plaintiffs’ Motion to Compel Discovery from Defendant Robert “Azzmador” Ray, ECF

   No. 673, is GRANTED in its entirety. Plaintiffs are directed to file a petition setting out

   their reasonable expenses, including attorney’s fees, incurred in making the motion. Fed.

   R. Civ. P. 37(a)(5)(A).

2. On or before May 19, 2020, Plaintiffs’ counsel shall provide Ray with a blank copy of

   the Certification form attached as Exhibit A to the Stipulation & Order for the Imaging,

   Preservation, and Production of Documents, ECF No. 383, at 16. Counsel may modify

   the Certification form’s text or fields to request specific information consistent with this

   Order.

3. On or before May 26, 2020, Ray shall complete and return to the Vendor and Plaintiffs’

   counsel a new Certification form that:

       a. identifies all Social Media Accounts, as defined in ¶ 2(xi) of the Stipulation &

            Order and regardless of whether Ray has already disclosed them (e.g., Daily

            Stormer website, Krypto Report podcast, Gab.ai, Twitter), that may contain

            potentially relevant documents or files, including electronically stored

            information (“ESI”) such as video or audio recordings, photographs or digital

            images, and private or public messages, posts, and comments;

       b. lists the complete and accurate last known credentials that Ray used to access

            each identified Social Media Account, regardless of whether Ray currently has

            access to the platform or whether an account is active, inactive, or inaccessible;

       c. for any Social Media Account for which Ray cannot remember or otherwise

            access such credentials, contains a statement describing all the steps Ray took to

            recover the information and stating why he was not successful;



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          d. identifies all the Electronic Devices, as defined in ¶ 2(vi) of the Stipulation &

              Order and regardless of whether Ray has already identified them (e.g., second

              laptop), he has possessed from January 1, 2017, to present that may contain

              potentially relevant documents, files, or ESI such as video or audio recordings,

              photographs or digital images, and text messages; and

          e. is signed by Ray under penalty of perjury certifying that the information

              contained therein is true, correct, and complete to the best of his knowledge after

              he made a reasonable effort to search for and produce all requested information.

   4. On or before May 28, 2020, Ray shall send to the Vendor all identified Electronic

       Devices that the Vendor has not yet received from Ray or his former attorneys, including

       the second laptop that Ray identified on his sworn Certification form in January 2019 and

       a second cell phone that Ray failed to identify in his previous discovery responses. Ray

       shall promptly provide any tracking information to the Vendor and to Plaintiffs’ counsel.

   5. On or before June 8, 2020, the Vendor shall provide directly to Plaintiffs’ counsel any

       and all ESI collected from Ray’s social media accounts and devices that contain the

       agreed-upon search terms within the applicable date range. Order of Jan. 22, 2020, at 2.

       The Court expects Plaintiffs’ counsel will return to Ray any material likely to be

       protected by attorney-client privilege. See id.


       Finally, Defendant Robert “Azzmador” Ray is hereby warned that his failure to

fully comply with this Order may result in the Court imposing sanctions under Rule

37(b)(2) of the Federal Rules of Civil Procedure and/or directing Ray to show cause why he

should not be held in contempt of court.

       IT IS SO ORDERED.


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The Clerk shall send a copy of this Order to the parties.

                                                       y 18, 2020
                                              ENTER: May



                                              Joel C. Hoppe
                                              U.S. Magistrate Judge




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